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                 EXHIBIT A
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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MARYLAND
                                 Greenbelt Division

 KILMAR ARMANDO ABREGO GARCIA, et al.,

              Plaintiffs,

                            v.
                                                           No. 8:25-CV-00951-PX
 KRISTI NOEM, Secretary of Homeland
   Security, et al.,

              Defendants.


     DEFENDANTS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
          FIRST SET OF EXPEDITED INTERROGATORIES

      Defendants object and respond to Plaintiffs’ First Set of Expedited

Interrogatories (“Expedited Interrogatories”) in accordance with Federal Rules of

Civil Procedure 26 and 33, Local Rule 104, and the Court’s Order Granting Expedited

Discovery (“Order”) (Dkt. 79).

                            PRELIMINARY STATEMENT

      Defendants have made a diligent and good faith effort to obtain information

that is responsive to the Expedited Interrogatories. Defendants’ responses are based

on their knowledge, information, and documents acquired and reviewed to date.

      Defendants’ objections and responses shall not be deemed to constitute

admissions that (a) information or any document or thing exists or is relevant, non-

privileged, or admissible in evidence; or (b) any statement or characterization by

Plaintiffs in the Expedited Interrogatories is accurate or complete.
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                        OBJECTIONS TO DEFINITIONS

      “You” and “Your.” Defendants object to Plaintiffs’ definition of “You” and

“Your” and will construe those words in the context of Plaintiffs’ Expedited

Interrogatories as meaning the person(s) to whom the Expedited Interrogatories are

addressed, and all that person’s agents and representatives. This objection is

incorporated into each of Defendants’ responses to the Expedited Interrogatories.

                       OBJECTIONS TO INSTRUCTIONS

      Timeframe. Defendants object to Plaintiffs’ proposed timeframe for the

Expedited Interrogatories as inconsistent and partially outside the scope of expedited

discovery authorized under the Order, to the extent is seeks information prior to the

Court’s April 4, 2025, Order Granting Preliminary Injunction (Dkt. 21). Defendants

will produce information related to matters occurring on or after April 4, 2025. This

objection is incorporated into each of Defendants’ responses to the Expedited

Interrogatories.

      Privilege. Defendants object to the extent Plaintiffs demand that Defendants

produce a privilege log on April 21, 2025, during expedited discovery. Defendants are

willing to meet and confer with Plaintiffs regarding the appropriate time for

providing a privilege log.

  OBJECTIONS AND RESPONSES TO EXPEDITED INTERROGATORIES

      Interrogatory No. 1: Describe with particularity each action You have

already taken, and when, to Facilitate Abrego Garcia’s release from custody in

El Salvador.




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      Defendants’ Response to Interrogatory No. 1: Defendants object to

Interrogatory No. 1 as based on the false premise that the United States can or has

been ordered to facilitate Abrego Garcia’s release from custody in El Salvador. See

Abrego Garcia, 604 U.S.—, slip op. at 2 (holding Defendants should “take all available

steps to facilitate the return of Abrego Garcia to the United State”) (emphasis added).

Defendants further object to Interrogatory No. 1 as calling for information that is

protected by the attorney-client privilege, the deliberative process privilege, the state

secrets privilege, and the governmental privilege. Defendants incorporate their

objections to definitions and objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants respond as

follows: Before the Fourth Circuit’s decision of April 17 clarifying its understanding

of “facilitate,” the United States took the position that the only steps needed to

facilitate the return of Mr. Abrego Garcia involved removing domestic barriers. After

the Fourth Circuit’s clarification, the State Department has engaged in appropriate

diplomatic discussions with El Salvador regarding Abrego Garcia. However,

disclosing the details of any diplomatic discussions regarding Mr. Abrego Garcia at

this time could negatively impact any outcome.

      Interrogatory No. 2: Describe with particularity each action You have

already taken, and when, to Facilitate Abrego Garcia’s return to the United States.

      Defendants’ Response to Interrogatory No. 2: Defendants object to

Interrogatory No. 2 as calling for information that is protected by the attorney-client

privilege, the deliberative process privilege, the state secrets privilege, and the




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governmental privilege. Defendants incorporate their objections to definitions and

objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants respond as

follows:

1.    Before the Fourth Circuit’s decision of April 17 clarifying its understanding of

“facilitate,” the United States took the position that the only steps needed to facilitate

the return of Mr. Abrego Garcia involved removing domestic barriers. After the

Fourth Circuit’s clarification, the State Department has engaged in appropriate

diplomatic discussions with El Salvador regarding Abrego Garcia. However,

disclosing the details of any diplomatic discussions regarding Mr. Abrego Garcia at

this time could negatively impact any outcome.

2.    Abrego Garcia is being held in the sovereign, domestic custody of the

independent nation of El Salvador. DHS does not have authority to forcibly extract

an alien from the domestic custody of a foreign sovereign nation.

      Interrogatory No. 3: Describe with particularity each action You plan to take

in the future, and when, to Facilitate Abrego Garcia’s release from custody in

El Salvador.

      Defendants’ Response to Interrogatory No. 3: Defendants object to

Interrogatory No. 3 as based on the false premise that the United States can or has

been ordered to facilitate Abrego Garcia’s release from custody in El Salvador. See

Abrego Garcia, 604 U.S.—, slip op. at 2 (holding Defendants should “take all available

steps to facilitate the return of Abrego Garcia to the United State”) (emphasis added).




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Defendants further object to Interrogatory No. 3 as calling for information that is

protected by the attorney-client privilege, the deliberative process privilege, the state

secret privilege, and the governmental privilege. Defendants incorporate their

objections to definitions and objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants respond as

follows: Before the Fourth Circuit’s decision of April 17 clarifying its understanding

of “facilitate,” the United States took the position that the only steps needed to

facilitate the return of Mr. Abrego Garcia involved removing domestic barriers. After

the Fourth Circuit’s clarification, the State Department has engaged in appropriate

diplomatic discussions with El Salvador regarding Abrego Garcia. However,

disclosing the details of any diplomatic discussions regarding Mr. Abrego Garcia at

this time could negatively impact any outcome.

      Interrogatory No. 4: Describe with particularity each action You plan to take

in the future, and when, to Facilitate Abrego Garcia’s return to the United States.

      Defendants’ Response to Interrogatory No. 4: Defendants object to

Interrogatory No. 4 as calling for information that is protected by the attorney-client

privilege, the deliberative process privilege, the state secrets privilege, and the

governmental privilege. Defendants incorporate their objections to definitions and

objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants respond as

follows:




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1.    Before the Fourth Circuit’s decision of April 17 clarifying its understanding of

“facilitate,” the United States took the position that the only steps needed to facilitate

the return of Mr. Abrego Garcia involved removing domestic barriers. After the

Fourth Circuit’s clarification, the State Department has engaged in appropriate

diplomatic discussions with El Salvador regarding Abrego Garcia. However,

disclosing the details of any diplomatic discussions regarding Mr. Abrego Garcia at

this time could negatively impact any outcome.

2.    DHS has established processes for taking steps to remove domestic obstacles

that would otherwise prevent an alien from lawfully entering the United States. DHS

is prepared to facilitate Abrego Garcia’s presence in the United States in accordance

with those processes if he presents at a port of entry. If Abrego Garcia does present

himself at a port of entry, he would become subject to detention by DHS. In that case,

DHS would take him into custody in the United States and either remove him to a

third country or seek to terminate his withholding of removal because of his

membership in MS-13, a designated foreign terrorist organization, and remove him

to El Salvador.

      Interrogatory No. 5: Identify and describe the role of each individual who

has been involved, or whom You anticipate will become involved, in any of the actions

responsive to Interrogatory Nos. 1–4 or in ordering or authorizing Abrego Garcia’s

removal to El Salvador, his initial placement in CECOT, or his continued confinement

in CECOT.




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      Defendants’ Response Interrogatory No. 5: Defendants object to

Interrogatory No. 5 as outside the scope of expedited discovery authorized under the

Order, to the extent is seeks information about Abrego Garcia’s removal to El

Salvador, his initial placement in CECOT, or his continued confinement in CECOT.

Defendants will limit their response to information concerning: (1) the current

physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Interrogatory No. 5 as calling for information

that is protected by the attorney-client privilege, attorney work product, the

deliberative process privilege, the state secrets privilege, and the governmental

privilege. Defendants incorporate their objections to definitions and objections

to instructions.

      Subject to and without waiving the forgoing objections, Defendants respond as

follows:

      The following individuals from DHS were involved in Abrego Garcia’s removal

to El Salvador or may be involved in facilitating Abrego Garcia’s presence in the

United States if he presents at a port of entry: (1) Robert L. Cerna II, Acting Field

Office Director for Harlingen, was involved in Abrego Garcia’s removal to El Salvador,

but would not be involved in any meaningful way in his return to the United States,

should that take place. (2) Evan C. Katz, Assistant Director for the Enforcement and

Removal Operations Removal Division of U.S. Department of Homeland Security,




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U.S. Immigration and Customs Enforcement (ICE). In Mr. Katz’s current role, he

oversees, among other things, return of certain aliens removed from the United

States. He would become directly involved in this case only once ICE is advised that

Abrego Garcia will come into ICE custody, following the success of diplomatic efforts,

Abrego Garcia’s release from Salvadoran detention, and, if necessary, Abrego Garcia

being granted permission to leave El Salvador. At that point, AD Katz would be able

to arrange travel options from El Salvador to the United States.

      Abrego Garcia’s confinement at CECOT or any other facility in El Salvador is

at the discretion of El Salvador.

      Interrogatory No. 6: Describe with particularity each request for Abrego

Garcia’s release from custody in El Salvador that You conveyed to anyone in the

government of El Salvador or at CECOT, including when, in what form, by whom,

and to whom.

      Defendants’ Response to Interrogatory No. 6: Defendants object to

Interrogatory No. 6 as based on the false premise that the United States can or has

been ordered to facilitate Abrego Garcia’s release from custody in El Salvador. See

Abrego Garcia, 604 U.S.—, slip op. at 2 (holding Defendants should “take all available

steps to facilitate the return of Abrego Garcia to the United State”) (emphasis added).

Defendants further object to Interrogatory No. 6 as calling for information that is

protected by the attorney-client privilege, the deliberative process privilege, the state

secrets privilege, and the governmental privilege. Defendants incorporate their

objections to definitions and objections to instructions.




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      Subject to and without waiving the forgoing objections, Defendants respond as

follows: Before the Fourth Circuit’s decision of April 17 clarifying its understanding

of “facilitate,” the United States took the position that the only steps needed to

facilitate the return of Mr. Abrego Garcia involved removing domestic barriers. After

the Fourth Circuit’s clarification, the State Department has engaged in appropriate

diplomatic discussions with El Salvador regarding Abrego Garcia. However,

disclosing the details of any diplomatic discussions regarding Mr. Abrego Garcia at

this time could negatively impact any outcome.

      Interrogatory No. 7: Describe with particularity each Communication You

have had with anyone in the government of El Salvador or at CECOT concerning

Abrego Garcia, including when, in what form, by whom, and to whom.

      Defendants’ Response to Interrogatory No. 7: Defendants object to

Interrogatory No. 7 as outside the scope of expedited discovery authorized under the

Order, to the extent is seeks information about Abrego Garcia’s removal to El

Salvador or initial placement in CECOT. Defendants will limit their response to

information concerning: (1) the current physical location and custodial status of

Abrego Garcia; (2) what steps, if any, Defendants have taken to facilitate Abrego

Garcia’s immediate return to the United States; and (3) what additional steps

Defendants will take, and when, to facilitate his return. Defendants further object to

Interrogatory No. 7 as calling for information that is protected by the attorney-client

privilege, the deliberative process privilege, the state secrets privilege, and the




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governmental privilege. Defendants incorporate their objections to definitions and

objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants respond as

follows: Regarding the location and custodial status of Mr. Abrego Garcia, on April 4,

the U.S. Ambassador to El Salvador had a conversation with a representative of the

Government of El Salvador who told the Ambassador Abrego Garcia was being held

at CECOT. On April 17, a representative of the Government of El Salvador contacted

the U.S. Ambassador to El Salvador to arrange a meeting between U.S. Senator Van

Hollen and Abrego Garcia, as requested by Senator Van Hollen. Following several

communications between the Ambassador and the representative of the Government

of El Salvador regarding timing and logistics, the meeting occurred that same day.

On April 20 and 21, the Ambassador requested an update on the physical location

and custodial status of Mr. Abrego Garcia. The Salvadoran government responded on

April 21 that he is being held at the Centro Industrial penitentiary facility in Santa

Ana, in good conditions and in an excellent state of health. With respect to any other

communications, disclosing any diplomatic discussions regarding Mr. Abrego Garcia

could negatively impact any outcome.

      Interrogatory No. 8: Describe with particularity the legal basis for Abrego

Garcia’s continued confinement in CECOT.

      Defendants’ Response to Interrogatory No. 8: Defendants object to

Interrogatory No. 8 as outside the scope of expedited discovery authorized under the

Order. Defendants will limit their response to information concerning: (1) the current




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physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Interrogatory No. 8 to the extent it calls for a

legal conclusion. Defendants incorporate their objections to definitions and objections

to instructions.

      Subject to and without waiving the forgoing objections, Defendants respond as

follows: Abrego Garcia is detained pursuant to the sovereign, domestic authority of

El Salvador.

      Interrogatory No. 9: Describe with particularity the terms of any agreement,

arrangement, or understanding between the governments of the United States and

El Salvador to confine in El Salvador individuals removed or deported from the

United States or transported by You from the United States to El Salvador, including

any rights the government of the United States possesses, retains or has exercised

concerning any individual removed or deported from the United States.

      Defendants’ Response to Interrogatory No. 9: Defendants object to

Interrogatory No. 9 as based on the premise that the United States may exercise

authority over Salvadoran citizens detained by El Salvador within the sovereign

territory and pursuant to the domestic law of El Salvador. Defendants object to

Interrogatory No. 9 as outside the scope of expedited discovery authorized under the

Order. Defendants will limit their response to information concerning: (1) the current

physical location and custodial status of Abrego Garcia; (2) what steps, if any,




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Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Interrogatory No. 9 as calling for information

that is classified or otherwise protected by the state secrets privilege and the

governmental privilege. Defendants incorporate their objections to definitions and

objections to instructions.

      Based on the foregoing objections, Defendants are willing to meet and confer

with Plaintiffs regarding Interrogatory No. 9.

      Interrogatory No. 10: Identify and describe the role of each individual

involved in negotiating or approving any agreement, arrangement, or understanding

between the governments of the United States and El Salvador to confine in El

Salvador individuals removed or deported from the United States or transported by

You from the United States to El Salvador.

      Defendants’ Response to Interrogatory No. 10: Defendants object to

Interrogatory No. 10 as outside the scope of expedited discovery authorized under the

Order. Defendants will limit their response to information concerning: (1) the current

physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Interrogatory No. 10 as calling for information

that is protected by the state secrets privilege and the governmental privilege.

Defendants incorporate their objections to definitions and objections to instructions.




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      Based on the foregoing objections, Defendants are willing to meet and confer

with Plaintiffs regarding Interrogatory No. 10.

      Interrogatory No. 11: List each payment that has been, or will be, made or

withheld in connection with the detention at CECOT of Abrego Garcia and other

individuals removed or deported from the United States or transported by You from

the United States to El Salvador, including when each payment was or will be made

or withheld, in what amount, by whom, and to whom.

      Defendants’ Response to Interrogatory No. 11: Defendants object to

Interrogatory No. 11 as outside the scope of expedited discovery authorized under the

Order. Defendants will limit their response to information concerning: (1) the current

physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Interrogatory No. 11 as calling for information

that is protected by the state secrets privilege and the governmental privilege.

Defendants incorporate their objections to definitions and objections to instructions.

      Subject to and without waiving the forgoing objections, Defendants respond as

follows: The United States, through the White House spokesperson, has publicly

stated that “approximately $6 million” has been made available to the Government

of El Salvador (GOES) to be used by the GOES for its law enforcement needs,

including “for the detention of these [Venezuelan] foreign terrorists.” The United




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States has not provided any specific assistance with respect to the detention of Abrego

Garcia or any other Salvadoran national.

      Interrogatory No. 12: Describe with particularity each instance since 2015

in which You removed or deported a person to El Salvador and later undertook efforts

to Facilitate that person’s return to the United States (e.g., ECF No. 31 at 5 n.7;

Defendants’ Status Update in Grace v. Sessions, No. 1:18-cv-01853-EGS (D.D.C. Jan.

11, 2019), ECF No. 113).

      Defendants’ Response to Interrogatory No. 12: Defendants object to

Interrogatory No. 12 as outside the scope of expedited discovery authorized under the

Order. Defendants will limit their response to information concerning: (1) the current

physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Interrogatory No. 12 as unduly burdensome to

the extent it calls for information dating back to 2015. Defendants further object to

Interrogatory No. 12 as calling for information that is protected by the state secrets

privilege and the governmental privilege. Defendants incorporate their objections to

definitions and objections to instructions.

      Based on the foregoing objections, Defendants are willing to meet and confer

with Plaintiffs regarding Interrogatory No. 12.




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Interrogatory No. 13: Describe with particularity each instance since 2015 in which

You undertook extraterritorial efforts to Facilitate the return to the United States of

any removed or deported individual.

      Defendants’ Response to Interrogatory No. 13: Defendants object to

Interrogatory No. 13 as outside the scope of expedited discovery authorized under the

Order. Defendants will limit their response to information concerning: (1) the current

physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Interrogatory No. 13 as unduly burdensome to

the extent it calls for information dating back to 2015. Defendants further object to

Interrogatory No. 13 as calling for information that is protected by the state secrets

privilege and the governmental privilege. Defendants incorporate their objections to

definitions and objections to instructions.

      Based on the foregoing objections, Defendants are willing to meet and confer

with Plaintiffs regarding Interrogatory No. 13.

      Interrogatory No. 14: Describe with particularity the complete factual basis

for Your assertions that Abrego Garcia “is a member of MS-13” (e.g., ECF No. 77-1 at

12), including by identifying the source of that information.

      Defendants’ Response to Interrogatory No. 14: Defendants object to

Interrogatory No. 14 as outside the scope of expedited discovery authorized under the

Order, to the extent it calls for information regarding Abrego Garcia’s membership in




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MS-13. Defendants will limit their response to information concerning: (1) the current

physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants incorporate their objections to definitions and objections to

instructions.

      Based on the foregoing objections, Defendants are willing to meet and confer

with Plaintiffs regarding Interrogatory No. 14.

      Interrogatory No. 15: Identify and describe the role of each United States

official or employee who has personal knowledge of facts alleged in the Complaint

(ECF No. 1) or of facts alleged in Your submissions to this Court, the Fourth Circuit,

or the Supreme Court in this case.

      Defendants’ Response to Interrogatory No. 15: Defendants object to

Interrogatory No. 15 as outside the scope of expedited discovery authorized under the

Order. Defendants will limit their response to information concerning: (1) the current

physical location and custodial status of Abrego Garcia; (2) what steps, if any,

Defendants have taken to facilitate Abrego Garcia’s immediate return to the United

States; and (3) what additional steps Defendants will take, and when, to facilitate his

return. Defendants further object to Interrogatory No. 15 as overly broad and unduly

burdensome as it calls for Defendants to identify and describe all individuals with

knowledge of every fact that Plaintiffs allege in their 99-paragraph complaint,

regardless of the individuals’ knowledge, connection, or involvement with the issues,




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decisions, or actions at issue in this expedited discovery. Defendants further object to

Interrogatory No. 15 as premature, to the extent that it calls for information not due

until Defendants serve their initial disclosures under Federal Rule of Civil Procedure

26. Defendants further object to Interrogatory No. 15 as calling for information that

is protected by the state secrets privilege and the governmental privilege. Defendants

incorporate their objections to definitions and objections to instructions.

      Based on the foregoing objections, Defendants are willing to meet and confer

with Plaintiffs regarding Interrogatory No. 15.


                                            Respectfully submitted,

                                            Yaakov M. Roth
                                            Acting Assistant Attorney General
                                            Civil Division

                                            /s/ Drew Ensign
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                                            Deputy Director
                                            Office of Immigration Litigation

Dated: April 21, 2025                       Counsel for Defendants–Appellant




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              VERIFICATION OF INTERROGATORY ANSWERS

I, Michael G. Kozak, am Senior Bureau Official in the Bureau of Western Hemisphere
Affairs, United States Department of State. I believe, based on personal knowledge
and reasonable inquiry, that the following Interrogatory answers––Defendants’
Responses to Interrogatory Nos. 1, 2.1, 3, 4.1, 6, 7, 8, 11––are true and correct to the
best of my knowledge, information, and belief.

I verify under penalty of perjury that the foregoing is true and correct.

Executed on April 21, 2025.




                                           Michael G. Kozak




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